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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK

LaCARRIE BYER,

                               Plaintiff,                NOTICE OF APPEAL
         vs.

PERIODONTAL HEALTH SPECIALISTS OF
ROCHESTER, PLLC, ROXANNE LOWENGUTH,                      Case No.: 6:17-cv-6412
DDS, MARY ANN LESTER, DMD, THOMAS
ZAHAVI, DMD, and DENTAL DIVAS, LLC

                               Defendants.


         Notice is hereby given that Plaintiff, LaCarrie Byer, hereby appeals to the United States

Court of Appeals for the Second Circuit from the final judgment in favor of Defendants entered

in this action on May 7, 2020 (Doc. 30) attached hereto as Exhibit A and the Opinion and Order

of the Hon. William K. Sessions III granting Defendants’ motion for summary judgment (Doc.

29) attached hereto as Exhibit B. Plaintiff appeals from the Judgment and Opinion and Order in

its entirety.

Dated: June 3, 2020                                  WOODS OVIATT GILMAN LLP


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AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT
                                                                  for the
                                                     Western    District of        NY


                      LaCARRIE BYER,
                             Plaintiff
                                v.                                   )         Civil Action No.      17-cv-6412
             PERIODONTAL HEALTH                                      )
          SPECIALISTS OF ROCHESTER,                                  )
       PLLC, ROXANNE LOWENGUTH, DDS,                                 )
       MARY ANN LESTER, DMD, THOMAS                                  )
      ZAHAVI, DMD, and DENTAL DIVAS, LLC,
                            Defendant

                                             JUDGMENT IN A CIVIL ACTION

The court has ordered that (check one):

   the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                  the amount of
                                                                            dollars ($               ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of             % per annum, along with costs.

    the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                   recover costs from the plaintiff (name)
                                            .

    other:     Defendants’ motion for summary judgment is granted. The remaining pending motions are denied as moot.

                                                                                                                                         .

This action was (check one):

   tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

   tried by Judge                                                                         withou
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was reached.

    decided by Judge            William K. Sessions III                                         oon
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                                                                                                                    summary
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                                                                                                                       mm a y judgment
in favor of the defendants'.
                                                                                                                                         .

Date:             05/07/2020                                                  CLERK OF
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                                                                                          Signature
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                                                                                                                Deputty Clerk
                                                                                                                        Clerk
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                      UNITED STATES DISTRICT COURT
                                 FOR THE
                      WESTERN DISTRICT OF NEW YORK

LaCARRIE BYER,                )
                              )
          Plaintiff,          )
                              )
     v.                       )          Case No. 6:17-cv-6412
                              )
PERIODONTAL HEALTH            )
SPECIALISTS OF ROCHESTER,     )
PLLC, ROXANNE LOWENGUTH, DDS, )
MARY ANN LESTER, DMD, THOMAS )
ZAHAVI, DMD, and DENTAL       )
DIVAS, LLC,                   )
                              )
          Defendants.         )

                             OPINION AND ORDER

     Plaintiff LaCarrie Byer brings this action claiming

discrimination on the basis of race and wage law violations.

Defendants are Byer’s former employer, Periodontal Health

Specialists of Rochester, PLLC (“PHS”), and the professionals at

PHS: Dr. Roxanne Lowenguth, DDS, Mary Ann Lester, DMD, and Thomas

Zahavi, DMD.     Byer is also suing Dental Divas, LLC (“Dental

Divas”), an entity owned by Dr. Lowenguth and Dr. Lester.            Byer

worked at PHS for approximately 17 years, ending in November

2015.    She also worked as a contractor for Dental Divas.

     Now before the Court is Defendants’ motion for summary

judgment on all claims.       Defendants argue that while many of

Byer’s claims are untimely, the undisputed facts do not support

her claims of discrimination and constructive discharge.            Those

facts include admissions by Byer that she was personally close to

her employers, that she loved her workplace, and that she
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considered PHS “her home.”          Defendants further contend that

Byer’s labor law claims are barred in part because they are

untimely, and because PHS and Dental Divas were separate

employers.        For the reasons set forth below, the motion for

summary judgment is granted.

                               Factual Background

       Dr. Mary Ann Lester and Dr. Roxanne Lowenguth formed PHS in

2000 to provide periodontal services in Monroe County, New York.

Dr. Thomas Zahavi joined the practice in 2009.             All three doctors

owned PHS equally.         PHS’s services included laser periodontal

therapy, dental implants, crown lengthening, soft tissue grafts

and short term orthodontics.           ECF No. 27-11 at 2-3, ¶¶ 1-4.

       Byer worked as a Dental Assistant to Dr. Lester from 1998

until she resigned from PHS in approximately 2003.              She stopped

working at PHS after she was reprimanded for an incident

involving two other employees and told to apologize.              She did not

apologize and did not show up to work the next day.              Id. at 3, ¶¶

5-6.       After leaving PHS, Byer worked for two other dental

professionals for a total of one year.            Upon leaving the second

job, she asked the doctors at PHS if she could return to work

there.       They agreed to let her come back, and Byer began working

at PHS again in 2005.         Id., ¶¶ 7-10.



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      Plaintiff’s Response to Defendants’ Statement of Material
Facts Not In Dispute.

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      After 2005, Byer worked on Dr. Lowenguth’s team.         She began

as a Dental Assistant, earning $18 per hour.        In 2008, she was

promoted and became Dr. Lowenguth’s Treatment Coordinator.             Byer

retained that position as a salaried employee until her

resignation in 2015.    Id. at 7, ¶¶ 28-30.      Her work as Treatment

Coordinator included coordinating communications with referring

doctors, laboratories, implant representatives, other vendors,

patients, and those patients’ physicians.        Id. at 43, ¶ 170.      At

the time of her resignation, Byer was earning a salary of $57,200

per year.   Between 1998 and 2015, Byer also contracted out her

services to other dentists.     Id. at 9-10, ¶ 42.

      After 2010, Dr. Lowenguth’s team included Dental Assistant

Rachel Wrights, who is Caucasian, and Byer.        Id. at 7, ¶ 31.

During Byer’s tenure at PHS, the practice employed at least four

or five African American employees, including Byer.         Several of

those employees worked on Dr. Lowenguth’s team.         Id. at 9, ¶ 41.

      Byer was the highest paid non-professional employee at PHS,

and was paid more than other Treatment Coordinators.         Id. at 7, ¶

32.   There is no dispute that Dr. Lowenguth provided Byer with

numerous advancement opportunities, including paying for her to

attend dental conferences.     Id. at 8, ¶ 33.     In 2015, Dr.

Lowenguth brought Byer with her to study under a renowned dentist

in Toronto; an opportunity for which Byer was grateful.           Id., ¶

35.


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     Dental Divas was founded in 2007 by Dr. Lester and Dr.

Lowenguth.   Dr. Zahavi was never a member of Dental Divas.           The

purpose of forming Dental Divas was to purchase a CT scan machine

and provide CT services to PHS patients and dentists, as well as

to referring dentists in Monroe County.      The Dental Divas office

was separate from PHS, with its own suite number and a separate

door to the outside.    The sign on the door said “Diagnostic

Imaging,” and contained no reference to PHS.       Id. at 5, ¶¶ 15-20.

     In March 2008, Byer had a part-time job at Old Navy.          Drs.

Lowenguth and Lester offered her a contract position running the

Dental Divas operation so that she could leave her part-time job.

Id. at 6, ¶¶ 21-22.    Byer generally performed work for Dental

Divas on days when Dr. Lowenguth was teaching at the University

of Rochester Eastman School of Dentistry.       Id. at 11, ¶ 44.      She

set up the billing and other administrative systems; would

schedule patients; performed CT scans; and arranged for referral

of patients.    Id., ¶ 45.    She also maintained the log book for

the CT machine and coordinated necessary maintenance and software

upgrades.    Id., ¶¶ 45-46.    As an independent contractor, she

received a 1099 form for each year she worked at Dental Divas.

Id. at 12, ¶ 51.

     The record makes clear that Byer enjoyed a close personal

relationship with Dr. Lowenguth and the Lowenguth family.          For

example, when Byer was having problems with an abusive boyfriend,


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she sought refuge at the homes of both Dr. Lowenguth and Dr.

Lester.    Id. at 18, ¶ 82.      Dr. Lowenguth’s daughter referred to

Byer as “Aunt” Carrie.     Id.   Byer’s sons were invited to Dr.

Lowenguth’s daughter’s birthday parties, and Byer herself was one

of two PHS employees Dr. Lowenguth invited to attend her

daughter’s high school graduation.       Id. at 19, 21, ¶¶ 82-83.     At

Byer’s request, Dr. Lowenguth gave permission for Byer’s sister

to be married at the Lowenguths’ lake house.        Id. at 19, ¶ 82.

     Dr. Lowenguth also gave Byer expensive gifts, including a

Gucci purse from Italy, UGG custom boots from New Zealand, and a

Marc Jacobs bracelet.     Id. at 21, ¶ 86.    When asked, Dr.

Lowenguth gave Byer furniture, electronics, exercise equipment,

and plantings from her garden.       Id. at 22, ¶ 88.   Both Dr.

Lowenguth and Dr. Lester loaned Byer money on occasion.         Id. at

21, ¶ 84.    When asked about her employers, Byer referred to

herself as a spoiled brat.       Id. at 22, ¶ 87.   Dr. Lowenguth’s

favoritism toward Byer created resentment among other PHS office

staff.    Id., ¶ 90.

     Byer has acknowledged that PHS had a fun-loving atmosphere

and that employees were known to joke around.       ECF No. 27-2 at

217-18, 275.    The joking included having nicknames for each

other.    Id. at 217.   Byer’s nicknames for Dr. Lowenguth included

“My Rocko,” “heifer,” “boo,” “chick,” “sassy,” and “Ms. Lady.”

ECF No. 27-1 at 19-20, ¶ 82.      She referred to Dr. Lester as


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“Momma Mare” and Dr. Lester referred to Byer as her “daughter.”

Id. at 20, ¶ 82.   Byer at times referred to herself as

“chocolate,” while referring to a Caucasian co-worker as

“vanilla” and another co-worker with slightly darker skin as

“mocha.”    Id. at 23, ¶¶ 93, 95.   Byer also referred to herself as

a “drill sergeant” and the “queen of attitude.”       Id. at 24, ¶¶

100, 101.   She posed no objection when a personal friend referred

to her on-line as “Chocolate Diva.”      Id. at 23, ¶ 93.    Dr.

Lowenguth was familiar with how Byer referred to herself and

others.    Id., ¶ 94.

     In 2013, Dr. Lowenguth brought Byer a gift from a dental

conference.   The gift was a statue of a dentist treating a child.

Both the dentist and the child were black, and the child had a

basketball.   Dr. Lowenguth had urged Byer to further her

education to become a dentist, and Byer’s son was a basketball

player.    Id. at 33, ¶ 122.   In fact, PHS paid for Byer’s dental

schooling and testing, which Byer agreed to pay back if she left

school without attaining her license.      Although Byer did not

obtain her dental certificate, PHS never required her to repay

the funds prior to her resignation.      Id. at 21, ¶ 85.

     When Byer received the statue in 2013, she thanked Dr.

Lowenguth and sent a message stating “LOL,” standing for laugh

out loud.   Id. at 33, ¶ 122.    Byer displayed the statue in her

work area, and took it with her when she left PHS.        Id.   At her


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deposition, Byer testified that she believed the statue was

discriminatory because it reminded her she was black.        ECF No.

27-2 at 243.

     Byer claims that Dr. Lowenguth asked her to meet with

African American patients and to “talk that talk.”        Byer also

alleges that she was called into an operating room and asked to

“bust a move,” and that Dr. Lowenguth suggested she dress as a

rapper with a gold tooth for Halloween.      On two separate

occasions, Dr. Lowenguth allegedly told Byer that she looked like

a rapper when she wore gold chains.      In the summer of 2014, when

talking about the need for professional hair styling, Dr.

Lowenguth told Byer her hair looked like Buckwheat’s.        Byer also

claims that Dr. Lowenguth once called her “Kunta,” and on another

occasion created a picture depicting Byer as a wild animal.

     In 2014, Byer stated that Dr. Lowenguth was “good people”

and that PHS was her “home.”     In January 2015 she wrote that “our

bosses rock,” and in early October 2015, shortly before her

resignation, Byer sent an email describing PHS as an “awesome

team.”   ECF No. 27-1 at 19-20, ¶ 82.

     After Byer had ACL surgery in July 2015, PHS allowed her to

work from home and continued her salary.      Id. at 8, ¶ 37.     When

she returned to work in August 2015, office manager Peter Burnett

informed her that all employees would be required to refer to the

doctors in the office by their professional names and not by


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nicknames.     Id. at 9, ¶ 39.

     Byer had decided to leave PHS sometime before October 1,

2015.    Id. at 24, ¶ 102.     On October 12, 2015, Dr. Lowenguth was

informed of a billing mistake.        She confronted Byer about the

possibility that she had mis-charged a patient, and asked her to

speak with the office manager.        When Byer refused, Dr. Lowenguth

escorted her to the manager’s office.           Id. at 24-25, ¶¶ 104, 105.

While the Complaint describes Dr. Lowenguth as “accosting” Byer,

it is undisputed that Dr. Lowenguth attempted to escort her by

the elbow.     Id. at 42, ¶ 168.

     On October 19, 2015, Byer gave two weeks’ notice of her

resignation, and offered to stay longer to help train her

replacement.     Id. at 25, ¶ 106; ECF No. 27-2 at 170.        All three

doctors asked her to stay at PHS.           ECF No. 27-1 at 26, ¶ 111.

When Dr. Lowenguth tried to persuade her to stay, Byer did not

tell her she was resigning because of race discrimination.               Id.

at 15, ¶ 67.     Byer continued to work until November 6, 2015.           Id.

at 25, ¶ 106.

     In January 2016, Byer began work at Western New York Dental

as a front desk receptionist.        On her application for her current

position, Byer wrote that she left PHS because she had “put in

seventeen years, learned a lot and it was time to move on.”              Id.

at 13, ¶ 56.     It is undisputed that in 2018 she received a final

warning from that organization.           Id., ¶ 55.


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     PHS has an extensive anti-harassment and anti-discrimination

policy.   The doctors at PHS also participated in anti-harassment

and anti-discrimination training in conjunction with faculty

positions at the University of Rochester.        Id. at 14, ¶¶ 60, 62.

During her employment at PHS since 2005, Byer was never demoted,

disciplined, or terminated.     Id. at 9, ¶ 40.     She has admitted

that she suffers from memory problems, and has advised her

medical providers of the issue.        Id. at 44, ¶ 179.

     On August 22, 2016, Byer filed a claim with the Equal

Employment Opportunity Commission (EEOC) claiming race

discrimination by PHS.     Id. at 6, ¶ 24.    Her letter of

resignation with PHS did not list any of the allegations set

forth in her EEOC complaint.     Id. at 15, ¶ 66.     On March 28,

2017, the EEOC issued her a right to sue letter.           Id. at 6, ¶ 26.

     Byer filed her Complaint in this Court on June 23, 2017.

The Complaint alleges that during her employment at PHS, she

“suffered episodes of severe and continuing and pervasive racial

discrimination and thereafter, retaliation by all Defendants and

most notably Lowenguth.”     ECF No. 1 at 3, ¶ 18.     Those incidents

allegedly included: being asked in March 2013 not to park in a

certain area where other staff members were allowed to park;

being told she should not be left alone in the office, as Dr.

Lester claimed that office items had been disappearing; a request

that she work extra hours without extra pay; asking her to “bust


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a move”; sending racially insensitive cartoons throughout the

office, including superimposing an Afro hair style on her natural

hair; insisting that she wear a necklace that said “bitch”;

comments at office lunches about providing Byer with fried

chicken; ridiculing her dress and hair style, at one point

comparing her to the fictional character Buckwheat and at another

to “Mammy on the plantation”; asking Byer to “talk that talk”

with patients of color; calling her oversensitive about racism;

sending a cartoon depicting her as looking like a wild animal;

calling her “Kunta”; and Dr. Lowenguth physically accosting her

in October 2015.   Most of these alleged incidents are attributed

to Dr. Lowenguth, and several are disputed.

     The Complaint brings causes of action for discrimination

under Title VII of the Civil Rights Act of 1964; retaliation in

violation of Title VII; hostile work environment under New York

Executive Law §§ 296(a) and 296(6); failure to pay overtime under

the Fair Labor Standards Act (FLSA); and failure to pay overtime

under the New York Labor Law (NYLL).

                              Discussion

I.   Summary Judgment Standard

     To prevail on a motion for summary judgment, the movant must

“show[] that there is no genuine dispute as to any material fact

and [that it] is entitled to judgment as a matter of law.”             Fed.

R. Civ. P. 56(a); see also Celotex Corp. v. Catrett, 477 U.S.


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317, 322—23 (1986).    In determining whether the movant has met

its burden, the Court must view all facts “in the light most

favorable” to the non-moving party.       Holcomb v. Iona Coll., 521

F.3d 130, 132 (2d Cir. 2008).

     If the movant meets its burden, “the nonmoving party must

come forward with admissible evidence sufficient to raise a

genuine issue of fact for trial in order to avoid summary

judgment.”    Jaramillo v. Weyerhaeuser Co., 536 F.3d 140, 145 (2d

Cir. 2008).   “[A] party may not rely on mere speculation or

conjecture as to the true nature of the facts to overcome a

motion for summary judgment.”     Hicks v. Baines, 593 F.3d 159, 166

(2d Cir. 2010) (citation omitted).      Rather, to survive a summary

judgment motion, the opposing party must establish a genuine

issue of fact by “citing to particular parts of materials in the

record.”   Fed. R. Civ. P. 56(c)(1)(A); see also Wright v. Goord,

554 F.3d 255, 266 (2d Cir. 2009).       In determining whether there

are genuine issues of material fact, the Court is again “required

to resolve all ambiguities and draw all permissible factual

inferences in favor of the party against whom summary judgment is

sought.”   Johnson v. Killian, 680 F.3d 234, 236 (2d Cir. 2012)

(quoting Terry v. Ashcroft, 336 F.3d 128, 137 (2d Cir. 2003)).

     In cases that involve claims of discrimination, courts must

use “an extra measure of caution” in determining whether to grant

summary judgment “because direct evidence of discriminatory


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intent is rare and such intent often must be inferred from

circumstantial evidence found in affidavits and depositions.”

Schiano v. Quality Payroll Sys., Inc., 445 F.3d 597, 603 (2d Cir.

2006) (citation omitted).        That said, “the salutary purposes of

summary judgment—avoiding protracted, expensive and harassing

trials—apply no less to discrimination cases.”           Weinstock v.

Columbia Univ., 224 F.3d 33, 41 (2d Cir. 2000) (citation

omitted).      Thus, even in the context of a discrimination case, “a

plaintiff must provide more than conclusory allegations to resist

a motion for summary judgment,” Holcomb, 521 F.3d at 137; see

also Gorzynski v. JetBlue Airways Corp., 596 F.3d 93, 101 (2d

Cir. 2010), and courts may grant summary judgment against

“discrimination claims in cases lacking genuine issues of

material fact,” Holtz v. Rockefeller & Co., 258 F.3d 62, 69 (2d

Cir. 2001) (citation omitted).

II.   Unlawful Discrimination

      A.      Title VII Claims

      Defendants submit that Byer’s federal discrimination claims

are barred as untimely, and that even assuming timeliness the

undisputed facts are insufficient to support a Title VII

discrimination claim.

              1.   Timeliness

      Byer submitted her notice of resignation on October 19,

2015.      She filed her EEOC claim over 300 days later, on August

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22, 2016.2     Title VII requires that individuals aggrieved by acts

of discrimination file a charge with the EEOC within 180 days or,

in states like New York that have local administrative mechanisms

for pursuing discrimination claims, 300 days “after the alleged

unlawful employment practice occurred.”          42 U.S.C. §

2000e–5(e)(1).      This statutory requirement is analogous to a

statute of limitations.       Van Zant v. KLM Royal Dutch Airlines, 80

F.3d 708, 712 (2d Cir. 1996).        Accordingly, claims filed outside

the 300-day window are time-barred.         See Abramson v. New York

City Bd. of Educ., 159 F.3d 1345 (2d Cir. 1998) (holding that

plaintiff’s failure to file a charge with the EEOC within 300

days rendered the claim time-barred).

     Defendants contend that the time clock for an EEOC filing

commences on the date the employee provides notice of her

resignation.      Byer argues that the effective date is not the date

of notice, but rather the last day of work.          The Supreme Court

has resolved this question in favor of the Defendants.            In Green

v. Brennan, 136 S. Ct. 1769, 1782 (2016), decided in May of 2016,

the Supreme Court held that under Title VII “resignation triggers

the limitations period for a constructive-discharge claim,” and

“an employee resigns when he gives his employer definite notice

of his intent to resign.       If an employee gives ‘two weeks’



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         Three hundred days before August 22, 2016 was October 27,
2015.

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notice’ . . . the limitations period begins to run on the day he

tells his employer, not his last day at work.”        Accordingly,

Byer’s claims under Title VII are time barred.        See Hite v. Manor

Junior Coll., 301 F. Supp. 3d 478, 483 (E.D. Pa. 2018) (“in Green

v. Brennan the Supreme Court held that Title VII’s 300–day period

starts on the day the employee resigns and not on the date of the

last discriminatory conduct); see also 1 Employment

Discrimination Law and Litigation § 9:11 (noting that although

Green involved federal employment, “there is little doubt that

[Green’s holding] applies to the more common situation involving

the private sector where an employee normally has 300 days to

file a charge of discrimination with the EEOC”).

          2.    The Merits

     Defendants further argue that, even assuming a timely cause

of action under Title VII, Byer’s discrimination claim fails on

the merits as a matter of law.     A plaintiff alleging Title VII

discrimination is subject to the three-part burden-shifting test

established in McDonnell Douglas Corp. v. Green, 411 U.S. 792

(1973).   See McPherson v. New York City Dep’t of Educ., 457 F.3d

211, 215 (2d Cir. 2006).     Under that test, a plaintiff first

“bears the minimal burden of setting out a prima facie

discrimination case.”    Id.   If the plaintiff satisfies her

burden, she “is then aided by a presumption of discrimination

unless the defendant proffers a legitimate, nondiscriminatory

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reason for the adverse employment action.”       Id.   Finally, if the

defendant proffers a legitimate, nondiscriminatory reason, “the

presumption evaporates and the plaintiff must prove that the

employer’s proffered reason was a pretext for discrimination.”

Id. (internal quotation marks and citations omitted).

     To establish a prima facie discrimination case, a plaintiff

must show that: (1) “[s]he belonged to a protected class,” (2)

“[s]he was qualified for the position,” (3) “[s]he suffered an

adverse employment action,” and (4) “the adverse employment

action occurred under circumstances giving rise to an inference

of discriminatory intent.”     Mathirampuzha v. Potter, 548 F.3d 70,

78 (2d Cir. 2008) (internal quotation marks and citations

omitted).   Here, there is no question that Byer belonged to a

protected class and was qualified for the position.         While the

Complaint alleges that she was constructively discharged, and

that such discharge constituted an adverse employment action,

Defendants submit that, as a matter of law, the conditions of her

employment did not give rise to a constructive discharge claim.

     “To satisfy the third element of the prima facie case, a

discharge may consist of either the employer’s actual termination

of the plaintiff’s employment or the existence of intolerable

conditions, attributable to the employer, amounting to a

‘constructive’ discharge.”     Green v. Town of New Haven, 952 F.3d

394, 404 (2d Cir. 2020) (citing Kirsch v. Fleet Street, Ltd., 148


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F.3d 149, 161 (2d Cir. 1998)).     As the Second Circuit has

explained, “[a] plaintiff may prove a constructive discharge by

establishing that [her] employer, rather than acting directly,

deliberately ma[de her] working conditions so intolerable that

[she was] forced into an involuntary resignation.”         Kirsch, 148

F.3d at 161.   “[A] constructive discharge cannot be shown simply

by the fact that the employee was unhappy with the nature of her

assignments or criticism of her work, or where the employee found

the working conditions merely difficult or unpleasant.”         See

Green, 952 F.3d at 404 (quotation marks and citations omitted).

“[A] plaintiff makes a prima facie showing of an adverse

employment action if she adduces evidence from which a rational

juror could infer that the employer made her working conditions,

viewed as a whole, ‘so difficult or unpleasant that a reasonable

person in the employee’s shoes would have felt compelled to

resign.’”   Id. at 405 (quoting Kirsch, 148 F.3d at 161).

     Applying this standard at summary judgment, “[i]f any

relevant facts are in dispute or subject to competing inferences

as to their effects, or if there is admissible evidence from

which a rational juror could infer that a reasonable employee

would have felt so compelled, rejection of the constructive-

discharge theory as a matter of law is impermissible.”         Id.

(citing Kirsch, 148 F.3d at 161-62).      Nonetheless, “some cases

present records so insubstantial that no rational factfinder


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could infer that a reasonable employee in the plaintiff’s shoes

could have felt compelled to resign.”          Id.   This is such a case.

     The Complaint alleges an array of statements and actions

that were undoubtedly inappropriate, insensitive, and based on

race.    Without minimizing the offensive nature of those alleged

events, the Court understands that they occurred over a period of

seventeen years and in the context of a uniquely familiar and

familial workplace.       It is in that context that the Court must

review Byer’s constructive discharge claim, viewing the facts and

making all reasonable inferences in her favor.

     Most of the alleged misconduct originated with Dr.

Lowenguth, whom Byer admits was her close friend, professional

mentor, and benefactress.        Byer repeatedly expressed love and

admiration for Dr. Lowenguth and the professional staff at PHS.

ECF No. 27-1 at 13, 20, ¶¶ 57, 82.         The relationship was clearly

both professional and personal.         Dr. Lowenguth provided for

Byer’s professional education, gave her shelter from an abusive

relationship, opened her vacation home for a family wedding, and

showered Byer with expensive gifts.         Byer and Dr. Lowenguth used

nicknames for each other, joked and teased, and exchanged humor

both in the office and on-line.         Byer asked Dr. Lowenguth

jokingly if she could join her on vacation, referred to herself

as spoiled, and was envied by other staff members.            Id. at 20,

22, ¶¶ 82, 87, 90.


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     Byer’s claim that her workplace was no longer tolerable is

belied by her own descriptions of PHS.       Specifically, Byer

described PHS as “her home,” and a few weeks prior to her

resignation remarked at the “awesome team” with which she worked.

Id. at 19, 20, ¶ 82.    While Byer connects her departure to the

billing incident in which Dr. Lowenguth compelled her to speak

with the office manager, the record makes clear that Byer was

contemplating leaving PHS prior to that date.        Moreover, as noted

above, while the Complaint describes Dr. Lowenguth’s physical

contact at that time as “accosting Ms. Byer in the presence of

other office personnel,” Byer has since admitted that Dr.

Lowenguth tried to escort her by the elbow.       Id. at 42, ¶ 168.

Other allegations have been clarified as well.        For example, the

Complaint alleged that Byer was told to park in an adjoining lot,

but Byer now concedes that all employees were given the same

instruction.    Id. at 41, ¶ 161(a).

     The record also contains incidents of racially-offensive

comments and jokes at Byer’s expense.       “[W]hether racial slurs

constitute a hostile work environment typically depends upon the

quantity, frequency, and severity of those slurs, considered

cumulatively in order to obtain a realistic view of the work

environment.”    Schwapp v. Town of Avon, 118 F.3d 106, 111 (2d

Cir. 1997).    Some of the allegations relate to cartoons, known as

bit strips, created by Dr. Lowenguth.       Dr. Lowenguth created bit


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strips depicting several people in the office, including Dr.

Lester.   Dr. Lowenguth also embellished photographs of office

members, including Byer.    When Byer complained about the bit

strips, Dr. Lowenguth stopped including her in the depictions.

ECF No. 27-1 at 27, ¶ 117(c).

     The Complaint references Dr. Lowenguth insisting that Byer

wear a necklace that said “bitch.”      Discovery revealed that she

gave a Caucasian employee a similar necklace at the same time

that said “slave.”    ECF No. 27-1 at 36, ¶ 150(c).      Byer also

alleges that Dr. Lowenguth made a comment about fried chicken,

altered a photograph so that Byer was depicted as having an Afro,

and once referred to Byer’s hair as looking like the fictional

character Buckweat.

     Byer herself contributed to the teasing, and arguably

inappropriate, atmosphere.     For example, she at times referred to

herself as “chocolate” and to a Caucasian co-worker as “vanilla.”

ECF No. 27-2 at 138-141, 213.     She also referred to herself as

“chocolate” on social media, and once posted a cartoon of herself

as a character with dark skin and an Afro.       Id. at 210, 215-16;

ECF No. 27-1 at 24, ¶ 98.

     Byer contends that the statue given to her, that of an

African American dentist treating an African American boy, was

offensive.   Doctors at PHS had encouraged her to pursue

dentistry, and brought the statue back from a conference.          Byer


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displayed the statute on her desk, and took it with her after her

resignation.   She kept the “bitch” necklace as well.        Id. at 37,

¶ 150(e).

     Byer claims that her departure was precipitated in part by

the billing incident in which Dr. Lowenguth “accosted” her.

There is no evidence that this incident was motivated by race

discrimination.   It is also undisputed that Byer was already

planning to leave her job.

     In sum, over a period of 17 years there was significant

intra-office banter, sometimes of a racial and inappropriate

nature, in which both Dr. Lowenguth and Byer participated.

Throughout her time at PHS, Byer openly expressed love and

respect for her employer, lauded her work team, and was given

clear and open preferential treatment.       She decided to leave PHS

in October 2015, prior to the alleged billing incident, provided

two-weeks notice, and offered to work longer.        These facts do not

present the sort of environment that a reasonable juror could

find unlawful under Title VII.     See Gorzynski, 596 F.3d at 102

(the court must “look to the record as a whole and assess the

totality of the circumstances, considering a variety of factors

including ‘the frequency of the discriminatory conduct; its

severity; whether it is physically threatening or humiliating, or

a mere offensive utterance; and whether it unreasonably

interferes with an employee’s work performance’” (quoting Harris


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v. Forklift Sys., Inc., 510 U.S. 17, 23 (1993)).

     Byer also brings a claim of Title VII retaliation.         To

establish a prima facie case of retaliation, she must show: “(1)

that [she] participated in a protected activity, (2) that [she]

suffered an adverse employment action, and (3) that there was a

causal connection between [her] engaging in the protected

activity and the adverse employment action.”        Rasmy v. Marriott

Int’l, Inc., 952 F.3d 379, 391 (2d Cir. 2020) (quoting Gorzynski,

596 F.3d at 110).   Protected activity “refers to action taken to

protest or oppose statutorily prohibited discrimination.”            Cruz

v. Coach Stores, Inc., 202 F.3d 560, 566 (2d Cir. 2000).            The

employer must be aware of the protected activity, and must have

“understood, or could reasonably have understood, that the

plaintiff’s opposition was directed at conduct prohibited by

Title VII.”   Galdieri-Ambrosini v. Nat’l Realty & Dev. Corp., 136

F.3d 276, 292 (2d Cir. 1998).

     As discussed previously, the undisputed record does not

support Byer’s claim that she suffered an adverse employment

action.   She was not disciplined, demoted, or fired.        Byer

resigned, and her claim of a constructive discharge fails as a

matter of law.   With respect to the allegation of retaliation,

the adverse employment action must be linked to the protected

activity.   Here, even assuming constructive discharge, there is

no indication in the record that such discharge was precipitated


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in any way by Byer’s complaints.

     Defendants’ motion for summary judgment on Byer’s federal

discrimination and retaliation claims is therefore granted as

untimely and, assuming timeliness, as insufficient to proceed to

a jury.

     B.   NYSHRL Claims

     In addition to her federal discrimination claims, Byer seeks

damages for discrimination under the New York State Human Rights

Law (NYSHRL).    As with her federal claims, there is a threshold

question of timeliness.    The NYSHRL has a three-year statute of

limitations.    N.Y. C.P.L.R. 214(2).    Because Byer filed suit on

June 23, 2017, the limitations period allows claims based on

events occurring after June 23, 2014.       The only admissible

incidents alleged during that time period are the embellishment

of a photograph and Byer’s own resignation.

     Discrimination claims brought under New York law are

assessed according to the same standard applied to Title VII

claims.   See Weinstock v. Columbia Univ., 224 F.3d 33, 42 n.1 (2d

Cir. 2000); Brennan v Metro. Opera Ass’n, Inc., 722 F. Supp. 2d

326, 343 (E.D.N.Y. 2010).     The same is true for state law

retaliation claims.    See Bain v. Wal-Mart Stores, Inc., 585 F.

Supp. 2d 449, 452 (W.D.N.Y. 2008).      Applying those standards, and

the associated standards for adverse employment actions and

constructive discharge, the incidents within the three-year


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limitations period fall far short of supporting a viable

discrimination claim.    And as discussed above, even assuming a

timely filing with respect to all of Byer’s factual allegations,

no reasonable juror could find that the conditions of her

employment were so severe that she was compelled to resign.

Defendants’ motion for summary judgment on Byer’s state law

discrimination claims is granted.

III. Labor Law Claims

     Byer next claims that Defendants owe her overtime pay under

state and federal law.    It is undisputed that Byer was treated as

an exempt, salaried employee for PHS, and worked as an

independent contractor with Dental Divas.       Byer does not claim

that she is entitled to overtime for work she performed

exclusively for PHS, or for work performed exclusively for Dental

Divas.    Her claim is instead that all of her work hours for both

PHS and Dental Divas must be combined, and that those combined

hours entitle her to overtime pay.

     A.    Timeliness

     The FLSA has either a two-year or three-year statute of

limitations, depending upon the willfulness of the violation.          29

U.S.C. § 255(a).   Byers resigned more than two years before she

filed her Complaint.    Accordingly, she must show willfulness

within the three-year limitations period for her FLSA claim to

survive.   The Supreme Court has held that a violation is willful


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if “the employer either knew or showed reckless disregard for the

matter of whether its conduct was prohibited by the statute.”

McLaughlin v. Richland Shoe Co., 486 U.S. 128, 133 (1988).

“Reckless disregard” is the “failure to make adequate inquiry

into whether conduct is in compliance with the [FLSA].”         5 C.F.R.

§ 551.104.   “Mere negligence is insufficient.”       Young v. Cooper

Cameron Corp., 586 F.3d 201, 207 (2d Cir. 2009).

     Under the New York labor law statute, the limitations period

with respect to overtime wages is six years, regardless of

willfulness.   N.Y. Lab. Law §§ 663(1), (3).      Therefore, the

applicable time period for any state law overtime claim commenced

on June 23, 2011, and claims prior to that time are barred.

     B.   The Merits

     Byer’s claim for overtime pay is premised on the allegation

that PHS and Dental Divas were joint employers, that she was a

non-exempt employee of both, and that her combined work hours for

both Dental Divas and PHS entitled her to overtime pay.         See ECF

No. 27 at 15 (“Plaintiff’s testimony clearly is that she worked

as much as 50-60 hours per week, for the benefit of PHS and

Dental Divas and therefore, would be entitled to overtime pay.”).

Defendants submit that PHS and Dental Divas are separate entities

and were not joint employers.

     The undisputed record shows that PHS and Dental Divas are

separately-owned LLCs.    Dr. Zahavi, the third owner of PHS, had


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no ownership interest and played no role in Dental Divas.

Although the offices of the two entities are apparently within

the same building, they have separate suite numbers and separate

entryways from the outside.     ECF No. 27-1 at 5, ¶ 19.      Byer

alleges that there is an adjoining door connecting them.          Id.

     The two businesses have separate phones, computers, and

billing systems.    Id. at 17, ¶¶ 74, 78.     Byer claims that she

used PHS computers to create certain imaging because Dental Divas

did not have the computers or software necessary to do the work.

Byer also contends that her duties for Dental Divas were written

on PHS letterhead, and that the PHS office manager was

responsible for Dental Divas’ billing and collections.

     Byer’s briefing argues that her status with PHS and Dental

Divas constituted “joint or integrated employment.”         ECF No. 27

at 11.    This argument involves two similar, but not identical,

claims.    “A joint employer relationship may be found to exist

where there is sufficient evidence that the [defendant employer]

had immediate control over the other company’s employees.”             NLRB

v. Solid Waste Servs., Inc., 38 F.3d 93, 94 (2d Cir. 1994).             A

single or integrated employer theory applies where “separate

corporations are not what they appear to be, that in truth they

are but divisions or departments of a ‘single enterprise.’”             NLRB

v. Deena Artware, Inc., 361 U.S. 398, 402 (1960)).

     “The ‘joint employer’ and ‘single employer’ concepts are


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distinct . . . [and] approach the issue of ‘who is the employer’

from two different viewpoints.”      NLRB v. Browning-Ferris Indus.

of Pennsylvania, Inc., 691 F.2d 1117, 1122 (3d Cir. 1982).             In a

“joint employer” relationship, unlike a “single employer”

relationship, “there is no single integrated enterprise.”

Clinton’s Ditch Co-op Co. v. NLRB, 778 F.2d 132, 137 (2d Cir.

1985).   “A conclusion that employers are ‘joint’ assumes that

they are separate legal entities, but that they have merely

chosen to handle certain aspects of their employer-employee

relationships jointly.”    Id.   Under the “single integrated

enterprise” or “single employer” doctrine, courts treat distinct

but closely-affiliated entities as a single employer.         See Juarez

v. 449 Rest., Inc., 29 F. Supp. 3d 363, 367 (S.D.N.Y. 2014).            In

determining whether separate entities should be considered a

single employer, “courts consider (1) interrelation of

operations, (2) centralized control of labor relations, (3)

common management, and (4) common ownership or financial

control.”   Id.

     Here, Byer argues that PHS and Dental Divas were not

separate businesses.    To support her argument, she points to

physical aspects of the two entities, such as the adjoining door

and the use of PHS computers to analyze CT scan date from Dental

Divas.   It is clear from the record, however, that Dental Divas

was an independent legal entity that maintained its own finances


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and performed a unique function in performing CT scans.         While

there was overlap in ownership between PHS and Dental Divas,

there is no evidence of either common ownership or common

control.

     From the perspective of employee control, there is also

little support for the argument that PHS as an entity controlled

Byer’s work for Dental Divas.     For example, there is no

indication that Dr. Zahavi exercised any control over Byer’s

contract work.   During the entire time that she worked for Dental

Divas, Byer’s legal relationship with that entity was separate

and distinct from her regular, full-time position at PHS.

     Furthermore, for FLSA purposes, there is no evidence in the

record that Defendants’ alleged failure to pay overtime was

willful.   Byer’s contractual arrangement with Dental Divas came

years after she had already been working as a full-time employee

for PHS, and was offered in part to relieve her of having to work

part-time elsewhere.    She worked for Dental Divas when Dr.

Lowenguth was not in the PHS office, and admittedly received 1099

forms year after year for her independent Dental Divas work.

Lacking any evidence of willfulness, Byer’s claims under the FLSA

are barred by the two-year limitations period.

     Byer’s final argument for overtime pay is that, despite

several years as a salaried, exempt employee at PHS, she should

not have been considered legally exempt and thus should have been


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eligible for overtime for her combined hours.        Under 29 U.S.C. §

213(a)(1), employees are exempt if they are employed in a “bona

fide” administrative capacity.     Such a capacity would involve

“office or non-manual work directly related to the management or

general business operations of the employer or the employer’s

customers,” and “the exercise of discretion and independent

judgment with respect to matters of significance.”         29 C.F.R. §

541.200.

     The parties disagree as to whether Byer’s work as a

Treatment Coordinator qualified as non-exempt work.         Byer submits

that she merely helped manage patients prior to and after dental

surgery, while all decisions with respect to care, treatment and

other matters of significance were controlled by Dr. Lowenguth.

Byer explained in her deposition that she made independent

decisions with respect to patient scheduling.        ECF No. 27-2 at

313-15.

     Because the FLSA is a remedial statute, its exemptions are

construed narrowly against the employer.       See Martin v. Malcom

Pirnie, Inc., 949 F.2d 611, 614 (2d Cir. 1991).        Also,

characterizing job responsibilities often involves questions of

fact that are best left for a jury to consider.        See, e.g.,

Rubery v. Buth-Na-Bodhaige, Inc., 470 F. Supp. 2d 273, 277

(W.D.N.Y. 2007).   In this case, however, those questions need not

be resolved, as Byer must first show a joint or integrated


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employer in order for her combined-hours claim to survive.

Because the undisputed factual record does not support such a

showing, Defendants are entitled to summary judgment on Byer’s

claims for overtime pay.

                              Conclusion

     For the reasons set forth above, Defendants’ motion for

summary judgment (ECF No. 25) is granted.       The remaining pending

motions (ECF Nos. 22 and 23) are denied as moot.

     DATED at Burlington, Vermont, this 6th day of May, 2020.



                           /s/ William K. Sessions III
                           William K. Sessions III
                           District Court Judge




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